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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
                                                      Case No. 14-20383-2
         Plaintiff-Respondent,
                                                      Honorable Nancy G. Edmunds

 v.

 SYLVESTER BOSTON JR.,

         Defendant-Petitioner.
                                          /


                                       JUDGMENT


      For the reasons stated in the Court’s opinion and order denying Petitioner’s motion

 to vacate, set aside or correct sentence under 28 U.S.C. § 2255 (ECF no. 374), Petitioner’s

 motion is DENIED.



      SO ORDERED.


                                    s/Nancy G. Edmunds
                                    Nancy G. Edmunds
                                    United States District Judge


 Dated: January 12, 2021


 I hereby certify that a copy of the foregoing document was served upon counsel of record
 on January 12, 2021, by electronic and/or ordinary mail.

                                    s/Lisa Bartlett
                                    Case Manager
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